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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 PAMELA BUTLER, et al.,                                )
                                                       )
                    Plaintiffs,                        ) Case No. 4:18-cv-01701-AGF
        v.                                             )
                                                       ) Lead Case
 MALLINCKRODT LLC, et al.,                             )
                                                       )
                    Defendants.                        )

 MOTION TO CONSOLIDATE BY DEFENDANT COTTER CORPORATION (N.S.L.)

       Defendant Cotter Corporation (N.S.L.) (“Cotter”) respectfully moves for pretrial

consolidation of the action Nikki Steiner Mazzocchio and Angela Steiner Kraus v. Cotter Corp.,

et al., Case No. 4:22-cv-00292-MTS (“Mazzocchio”), with these consolidated matters, Butler v.

Mallinckrodt LLC, et al., Case No. 4:18-cv-01701-AGF (“Butler”). Cotter moves for

consolidation under (1) the Price-Anderson Act (“PAA”), 42 U.S.C. § 2210, et seq.; (2) Judge

Sippel’s Administrative Order Regarding Radionuclide Exposure Claims Against Mallinckrodt

LLC and/or Cotter Corporation (N.S.L.) (Oct. 15, 2018), McClurg v. Mallinckrodt LLC, et al.,

Case No. 4:12-cv-00361-AGF, ECF No. 742 (“Administrative Order”); and (3) and the recent

decision of the Eighth Circuit in In re Cotter Corporation (N.S.L.), 22 F.4th 788 (8th Cir. 2022).

See also Fed. R. Civ. P. 42; E.D. Mo. L.R. 4.03.




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     Dated: March 17, 2022          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on March 17, 2022, these papers were served upon all counsel of record via

the Court’s electronic filing system.



                                            Respectfully submitted,

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